                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for Plaintiffs' failure to comply with applicable statutory requirements.
On February 8, 2008, Plaintiffs filed a complaint with the court appealing the real market value of property described as Account 249591. In a letter dated February 12, 2008, the court requested additional documentation regarding the proper plaintiff in this appeal and a completed authorization to represent form. It appeared from the property tax statement included with Plaintiffs' Complaint that a trust is the taxpayer/owner of the subject property. If a trust is the taxpayer/owner, an Amended Complaint should be filed to name the trust as the plaintiff.
The court addressed its February 12, 2008, letter to 5751 Avenida Estoril, Long Beach, California 90814, which is the address provided by Plaintiffs on the Complaint. That letter was not returned as undeliverable and the court received no response to its February 12, 2008, letter.
On February 28, 2008, another letter was sent to Plaintiffs at the same address. That letter confirmed the court had not received a response to its February 12, 2008, letter and it is unable to set the above-entitled matter for case management conference until an Amended Complaint is submitted with the correct taxpayer named as plaintiff and a fully executed Authorization to Represent form is submitted, in compliance with ORS 305.230(2) (2007): *Page 2 
  "A person may not be recognized as representing a taxpayer pursuant to this section unless there is first filed with the magistrate * * * a written authorization, or unless it appears to the satisfaction of the magistrate * * * that the representative does in fact have authority to represent the taxpayer."
The letter also advised Plaintiffs that the court would dismiss the appeal if a written response was not received by March 13, 2008. That letter was not returned as undeliverable and the court received no response to its February 28, 2008, letter.
As of this date, Plaintiffs have not responded to the court. Because Plaintiffs have not complied with the court's request to identify the proper plaintiff, and with ORS 305.230 regarding designation of authorized representatives, the court finds the appeal must be dismissed. Now therefore,
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
Dated this ____ day of March 2008.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Presiding Magistrate Jill A. Tanner onMarch 27, 2008. The Court filed and entered this document on March 27,2008. *Page 1 